Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9170    Page 1 of 42



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 USAMA JAMIL HAMAMA, et al.,
     Petitioners and Plaintiffs,
                                            Case No. 2:17-cv-11910
                                            Hon. Mark A. Goldsmith
 v.
                                            Mag. David R. Grand
 REBECCA ADDUCCI, et al.,
                                            Class Action
     Respondents and Defendants.


          PETITIONERS/PLAINTIFFS’ MOTION FOR SANCTIONS

  Local Rule 7.1(a)(1) requires Petitioners/Plaintiffs (hereinafter Petitioners) to
  ascertain whether this motion is opposed. Petitioners’ counsel Margo Schlanger
  communicated with William Silvis, counsel for Respondents/Defendants
  (hereinafter Respondents), via email on August 28, 2018 explaining the nature of
  the relief sought and seeking concurrence. Mr. Silvis responded that “Respondents
  deny that any false or misleading statements have been made to the Court, but
  without knowing which statements Petitioners are referencing Respondents are not
  in a position to provide the answer required under LR 7.1(2)(A).”

                                         ***

        On January 2, 2018, this Court deferred ruling on Petitioners’ Zadvydas

  claim, based principally upon factual representations by Respondents regarding the

  likelihood that Iraq would accept Petitioners for repatriation. ECF 191, PgID5328-

  35. Relying on declarations from John Schultz, deputy assistant director for ICE’s

  Asia and Europe Removal and International Operations Unit, and Michael

  Bernacke, ICE’s acting deputy assistant director for that same unit, the Court found

  that it is “still an open question whether Iraq has agreed to accept class-wide
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9171    Page 2 of 42



  repatriation” and that “a more developed record is necessary to answer this

  question.” Id. at PgID5334. The Court pointed specifically to statements that “the

  Government’s negotiations have resulted in Iraq’s agreement to cooperate in

  removal of Iraqi nationals from the United States;” that “ICE had scheduled charter

  flights to depart in both June and July;” that “there is no numeric limit on the

  number of removals;” that the reason “very few travel documents have actually

  been provided” was that “these documents are being sought only for those not

  subject to the stay of removal;” and that “if the injunction is lifted, large-scale

  removals can be arranged via charter flights, without the need for travel

  documents.” Id. at PgID5331-32 (citing Schultz and Bernacke declarations).

        Once the Court allowed discovery, Respondents – who had successfully

  prevented discovery during all of 2017 – sought to thwart it at every turn through

  delay and objection. When they did respond, they provided incomplete and

  misleading interrogatory responses designed to obscure, inter alia, the fact that

  Iraq has a long-standing and continuing policy against involuntary repatriations,

  and that Iraq has repeatedly refused repatriation of class members, absent their

  expressed desire to return. Discovery is still incomplete. Most recently, after

  Respondents sought yet another extension and the Court ordered that they respond

  to discovery requests, including production of documents by August 20, 2018,

  Respondents again failed to produce documents, meaning that only Respondents –

                                          2
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9172    Page 3 of 42



  and not Petitioners nor the Court – have access to documents that post-date March

  2018.

          Critically, however, the documents that Petitioners have obtained in these

  hard-fought discovery battles show that the Respondents’ sworn declarations

  contained both highly misleading and demonstrably false information –

  information that was the basis for this Court’s January 2nd ruling. Moreover, the

  Respondents knew at the time they submitted those declarations that the statements

  were misleading or false. Documents obtained in discovery also show that

  Respondents knowingly withheld critical facts from the Court. At no point have

  Respondents made any efforts to rectify the situation by notifying the Court or

  class counsel that prior court filings and discovery responses contained false and

  misleading information, or that Respondents had failed in their court filings to

  mention facts central to resolution of the Zadvydas claim. The truth is:

     • there is no agreement with Iraq for class-wide repatriation;

     • ICE sought

                                                 ;

     • Iraq had and continues to have a longstanding policy of opposing forced

          repatriation and it is unclear whether or when Iraq will ever accept Iraqi

          nationals who do not wish to return;

     • Iraq has long required potential deportees to express their desire to return to

                                            3
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9173     Page 4 of 42



         Iraq, and has used a standard form to document that desire in writing;

     • Iraq has

                        ;

     • Iraq will not accept Iraqi nationals on charter flights without travel

         documents;

     •



     • Iraq                                                                       by the

         time when this Court’s nationwide injunction issued; and

     • by the time Respondents’ opposed the first preliminary injunction in July

         2017, ICE




                        .

  Respondents not only failed in their duty to reveal those facts to the Court, but

  affirmatively misrepresented them.

         WHEREFORE, pursuant to this Court’s inherent powers and for the reasons

  set forth in the accompanying brief, Petitioners request that this Court, as sanctions

  and remedies for Respondents’ misrepresentations, bad faith and misconduct:

     1. ORDER that members of the Zadvydas Subclass who have been detained

                                            4
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9174    Page 5 of 42



        longer than six months be released under orders of supervision within 14

        days unless Respondents by that date provide to the Court individualized

        evidence that:

           a. ICE has valid travel documents for the detainee; or

           b. There is another strong special justification for the individual’s
              detention, other than effectuating removal.

     2. STRIKE from the declarations of John Schultz Jr. and Michael Bernacke

        language that is false or misleading and that is contained in the following

        paragraphs of those declarations, as highlighted in Exhibits A, B and C:

           • Schultz Dec. 7/20/2017, ECF 81-4, ¶5;

           • Schultz Dec. 11/30/2017, ECF 158-2, ¶¶4, 6, 7, 8 and 9;

           • Bernacke Dec. Doc# 184-2, ¶¶4, 5, 6, 7, 8, 10, 11 and 12.

     3. ORDER that in any individual immigration and habeas proceeding, whether

        in immigration court or federal court, in which the Schultz and Bernacke

        declarations have been offered as evidence, Respondents file a notice stating

        that this Court has stricken portions of those declarations, provide each

        presiding judge in such a proceeding with this Court’s order and opinion

        explaining why credence is not due the declarations and what portions of the

        declarations have been stricken, and report to this Court on those filings.

     4. ORDER Respondents to pay Petitioners’ counsel their reasonable attorneys’

        fees and costs for conducting discovery related to Petitioners’ Zadvydas
                                           5
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9175    Page 6 of 42



       claim, for filing and litigating this Motion for Sanctions, and for filing and

       litigating Petitioners’ Renewed Motion for Preliminary Injunction Under

       Zadvydas, ECF 376.

     5. GRANT whatever other relief the Court deems appropriate to sanction and

       remedy the government’s actions.

       Respectfully submitted,

  Michael J. Steinberg (P43085)            Judy Rabinovitz (NY Bar JR-1214)
  Bonsitu A. Kitaba (P78822)               Lee Gelernt (NY Bar LG-8511)
  Miriam J. Aukerman (P63165)              ACLU FOUNDATION
  ACLU FUND OF MICHIGAN                     IMMIGRANTS’ RIGHTS PROJECT
  2966 Woodward Avenue                     125 Broad Street, 18th Floor
  Detroit, Michigan 48201                  New York, NY 10004
  (313) 578-6814                           (212) 549-2618
  msteinberg@aclumich.org                  jrabinovitz@aclu.org

  /s/Kimberly L. Scott                     Margo Schlanger (P82345)
  Kimberly L. Scott (P69706)               Cooperating Attorneys, ACLU Fund
  Wendolyn W. Richards (P67776)            of Michigan
  Cooperating Attorneys, ACLU Fund         625 South State Street
   of Michigan                             Ann Arbor, Michigan 48109
  MILLER, CANFIELD, PADDOCK                734-615-2618
   & STONE, PLC                            margo.schlanger@gmail.com
  101 N. Main St., 7th Floor
  Ann Arbor, MI 48104                      Susan E. Reed (P66950)
  (734) 668-7696                           MICHIGAN IMMIGRANT RIGHTS
  scott@millercanfield.com                 CENTER
                                           3030 S. 9th St. Suite 1B
                                           Kalamazoo, MI 49009
                                           (269) 492-7196, Ext. 535
                                           Susanree@michiganimmigrant.org




                                          6
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9176   Page 7 of 42



  Nora Youkhana (P80067)                   Lara Finkbeiner (NY Bar 5197165)
  Nadine Yousif (P80421)                   Mark Doss (NY Bar 5277462)
  Cooperating Attorneys, ACLU Fund         INTERNATIONAL REFUGEE
   of Michigan                              ASSISTANCE PROJECT
  CODE LEGAL AID INC.                      Urban Justice Center
   27321 Hampden St.                       40 Rector St., 9th Floor
  Madison Heights, MI 48071                New York, NY 10006
  (248) 894-6197                           (646) 602-5600
  norayoukhana@gmail.com                   lfinkbeiner@refugeerights.org

  María Martínez Sánchez (NM Bar
  126375)
  ACLU OF NEW MEXICO
  1410 Coal Ave. SW
  Albuquerque, NM 87102
  msanchez@aclu-nm.org
                       Attorneys for All Petitioners and Plaintiffs

  William W. Swor (P21215)
  WILLIAM W. SWOR
  & ASSOCIATES
  1120 Ford Building
  615 Griswold Street
  Detroit, MI 48226
  wwswor@sworlaw.com

  Attorney for Petitioner/Plaintiff Usama Hamama

  Dated: August 31, 2018




                                          7
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18   PageID.9177   Page 8 of 42




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 USAMA JAMIL HAMAMA, et al.,
     Petitioners and Plaintiffs,
                                        Case No. 2:17-cv-11910
                                        Hon. Mark A. Goldsmith
 v.
                                        Mag. David R. Grand
 REBECCA ADDUCCI, et al.,
                                        Class Action
     Respondents and Defendants.



      PETITIONERS/PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                    MOTION FOR SANCTIONS
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18                                      PageID.9178            Page 9 of 42




                                           TABLE OF CONTENTS

  TABLE OF AUTHORITIES ..................................................................................iv
  STATEMENT OF ISSUES PRESENTED..............................................................vi
  CONTROLLING OR MOST APPROPRIATE AUTHORITY ............................ vii
  INTRODUCTION .................................................................................................... 1
  BACKGROUND AND FACTS ............................................................................... 2
      I.          RESPONDENTS KNOWINGLY PRESENTED FALSE AND
                  MISLEADING INFORMATION ............................................................. 2
             A.      Respondents’ Declarations Stated There Was an Agreement
                     Under Which Iraq Would Accept Unlimited Repatriations Via
                     Charter Flights ...................................................................................... 3
             B.      Respondents Knew The Declarations Were Untrue ............................ 5
                     1.       Respondents said Iraq agreed to the return of all Iraqi
                              nationals with final orders of removal, knowing that was
                              untrue.......................................................................................... 6
                     2.       Respondents said ICE could secure travel documents, but
                              has not attempted to do so because of the injunction,
                              knowing that was untrue ............................................................ 8
                     3.       Respondents said Iraq agreed to accept charter flights
                              without formal travel documents, knowing that was
                              untrue.......................................................................................... 9
                     4.       ICE said that the June and July 2017 flights were
                              cancelled as a result of this Court’s injunction, knowing
                              that was untrue .........................................................................10
             C.      The Government Withheld Material Information ..............................12
       II.        THE GOVERNMENT’S CONDUCT THROUGHOUT THIS
                  LITIGATION HAS BEEN DESIGNED TO HIDE THE TRUTH .......13
      III.        RESPONDENTS’ MISCONDUCT HAS CAUSED
                  PETITIONERS SEVERE HARM...........................................................15
  ARGUMENT .........................................................................................................16



                                                                    ii
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18                              PageID.9179          Page 10 of 42




      IV.      THIS COURT HAS INHERENT AUTHORITY TO SANCTION
               AND REMEDY THE GOVERNMENT’S LITIGATION
               MISCONDUCT .......................................................................................16
      V.       THIS COURT HAS INHERENT AUTHORITY TO FASHION
               APPROPRIATE REMEDIES TAILORED TO THE HARM
               CAUSED BY THE GOVERNMENT’S MISCONDUCT .....................19
      VI.      BECAUSE RESPONDENTS SECURED DEFERRAL OF
               PETITIONERS’ ZADVYDAS CLAIM THROUGH
               MISCONDUCT, THE APPROPRIATE SANCTION IS
               PETITIONERS’ RELEASE ....................................................................20
      VII. THE COURT SHOULD STRIKE FALSE AND MISLEADING
           LANGUAGE FROM THE DECLARATIONS AND REQUIRE
           RESPONDENTS TO INFORM OTHER TRIBUNALS WHERE
           THE DECLARATIONS WERE USED OF THAT FACT.....................23
      VIII. PETITIONERS SHOULD BE AWARDED ATTORNEYS’ FEES
            AND COSTS ...........................................................................................24
  CONCLUSION .......................................................................................................25




                                                               iii
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18                              PageID.9180          Page 11 of 42




                                      TABLE OF AUTHORITIES

                                                                                                            Page(s)

  Cases
  Ayoubi v. Dart, 640 F. App’x 524 (7th Cir. 2016) .................................................. 17

  Barnhill v. United States, 11 F.3d 1360 (7th Cir. 1993).......................................... 20

  In re Bavelis, 563 B.R. 672 (S.D. Ohio 2017) ......................................................... 19

  Beard v. City of Southfield, No. 14-13465, 2016 WL 6518490 (E.D.
    Mich. Nov. 3, 2016) ............................................................................................ 20

  Chambers v. NASCO, Inc., 501 U.S. 32 (1991)................................................passim

  Demjanjuk v. Petrovsky, 310 F.3d 338 (6th Cir. 1993) .....................................19, 22

  Enmon v. Prospect Capital Corp., 675 F.3d 138 (2d Cir. 2012) ........................ 1, 23

  First Bank of Marietta v. Hartford Underwriters Ins. Co., 307 F.3d
     501 (6th Cir. 2002).......................................................................................passim

  Forsberg v. Pefanis, 634 F. App’x 676 (11th Cir. 2015) ........................................ 17

  Fuery v. City of Chicago, --- F.3d ----, 2018 WL 3853742 (7th Cir.
    Aug. 14, 2018) ..............................................................................................19, 22

  Grace v. Sessions, No. 18-CV-1853 (EGS), 2018 WL 3812445
    (D.D.C. Aug. 9, 2018) ........................................................................................ 25

  Graham v. Dallas Indep. Sch. Dist., No. 3:04-CV-2461-B, 2006 WL
    507944 (N.D. Tex. Jan. 10, 2006) ...................................................................... 17

  Hutto v. Finney, 437 U.S. 678 (1978) .................................................................. 1, 24

  Korematsu v. United States, 323 U.S. 214 (1944) ..................................................... 1

  Korematsu v. United States, 584 F. Supp. 1406 (N.D. Cal. 1984) ...................passim




                                                               iv
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18                                 PageID.9181           Page 12 of 42




  Lamie v. Smith, No. 1:12-cv-201, 2013 WL 12109526 (W.D. Mich.
    Feb. 14, 2013), report and recommendation adopted by 2013 WL
    12109421 (W.D. Mich. Mar. 6, 2013) ................................................................ 20

  Laukus v. Rio Brands, Inc., 292 F.R.D. 485 (N.D. Ohio 2013) .............................. 19

  Metz v. Unizan Bank, 655 F.3d 485 (6th Cir. 2011) ................................1, 16, 17, 24

  Monsanto Co. v. Ralph, 382 F.3d 1374 (Fed. Cir. 2004) ........................................ 20

  Murray v. City of Columbus, 534 F. App’x 479 (6th Cir. 2013) ............................. 16

  Oliver v. Gramley, 200 F.3d 465 (7th Cir. 1999) .................................................... 20

  Plastech Holding Corp. v. WM Greentech Auto. Corp., 257 F. Supp.
     3d 867 (E.D. Mich. 2017) ............................................................................... 1, 17

  Railway Express, Inc. v. Piper, 447 U.S. 752 (1980) .............................................. 16

  Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d
    642 (6th Cir. 2006).......................................................................................... 1, 24

  Robert Bosch LLC v. A.B.S. Power Brake, Inc., No. 09-14468, 2011
    WL 1790221 (E.D. Mich. May 10, 2011) .......................................................... 20

  United States v. Van Engel, 15 F.3d 623 (7th Cir. 1993) ........................................ 21

  Virzi v. Grand Trunk Warehouse & Cold Storage Co., 571 F. Supp.
     507 (E.D. Mich. 1983) .................................................................................... 1, 19

  Williamson v. Recovery Ltd. P’ship, 826 F.3d 297 (6th Cir. 2017) ........................ 19

  Zadvydas v. Davis, 533 U.S. 678 (2001) ..........................................................passim

  Rules
  Fed. R. Civ. P. 37(b) ................................................................................................ 14

  E.D. Mich. L.R. 83.22(b) ......................................................................................... 18

  Michigan Rule of Professional Conduct 3.3 ........................................................ 1, 18

  Michigan Rule of Professional Conduct 4.1 ........................................................ 1, 18

                                                                  v
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9182    Page 13 of 42




                     STATEMENT OF ISSUES PRESENTED

  1. Should this Court enter relief granting Petitioners’ claims for release under
     Zadvydas v. Davis, 533 U.S. 678 (2001), where this Court’s earlier decision to
     defer ruling on that claim was secured by Respondents’ misrepresentations and
     omissions of material facts?

  Petitioners’ Answer: Yes



  2. Should this Court strike misleading or false portions of the declarations of John
     Schultz Jr. and Michael Bernacke, and require Respondents to inform
     immigration courts or federal courts where those misleading and false
     declarations have been used in individual proceedings of that fact?

  Petitioners Answer: Yes.



  3. Should this Court order Respondents to pay Petitioners’ fees associated with (a)
     discovery conducted for their Zadvydas claim, (b) Petitioners’ renewed motion
     for relief under Zadvydas, and (c) this motion for sanctions?

  Petitioners’ Answer: Yes




                                              vi
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18      PageID.9183   Page 14 of 42




          CONTROLLING OR MOST APPROPRIATE AUTHORITY

  Michigan Rule of Professional Conduct 3.3

  Michigan Rule of Professional Conduct 4.1

  Chambers v. NASCO, Inc., 501 U.S. 32 (1991)

  Hutto v. Finney, 437 U.S. 678 (1978)

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  2002)

  Metz v. Unizan Bank, 655 F.3d 485 (6th Cir. 2011)

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  2006)

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  Mich. 2017)

  Virzi v. Grand Trunk Warehouse & Cold Storage Co., 571 F. Supp. 507 (E.D.
  Mich. 1983)




                                              vii
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9184    Page 15 of 42



                                 INTRODUCTION
        In Korematsu v. United States, 584 F. Supp. 1406 (N.D. Cal. 1984), the

  court vacated the conviction of Fred Korematsu, a conviction which four decades

  earlier led to the Supreme Court’s decision upholding the internment of Japanese-

  Americans. See Korematsu v. United States, 323 U.S. 214 (1944). The district

  court in 1984 focused on the fact that the federal government had presented only

  information justifying detention of the Japanese, when “there was critical

  contradictory evidence known to the government and knowingly concealed from

  the courts.” Korematsu, 584 F. Supp. at 1417.

        [T]he government deliberately omitted relevant information and
        provided misleading information in papers before the court. The
        information was critical to the court’s determination, although it can-
        not now be said what result would have obtained had the information
        been disclosed. Because the information was of the kind peculiarly
        within the government’s knowledge, the court was dependent upon
        the government to provide a full and accurate account. . . . The
        judicial process is seriously impaired when the government’s law
        enforcement officers violate their ethical obligations to the court.

  Id. at 1420. Regardless of “[w]hether a fuller, more accurate record would have

  prompted a different decision,” relief was justified because “relevant evidence has

  been withheld.” Id. at 1419. Had the government, and its attorneys, been honest

  with the court, this shameful chapter in our history might have been avoided.

        More than 70 years have passed, but the government’s obligation to be forth-

  right with the court has not changed. Nor, unfortunately, has the government’s


                                           1
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9185   Page 16 of 42



  behavior which has, yet again, led to unjustified detention.

        When this Court deferred ruling on Petitioners’ Zadvydas claim, it did so

  based on Respondents’ representation of facts only they then knew. Discovery has

  now shown both that those representations were false, and that the government

  knowingly concealed key information demonstrating the falsehoods. The cost of

  Respondents’ misconduct here is measured in the pain it inflicted on Petitioners –

  in separated families, in months of human life spent unlawfully behind bars, and in

  the desperation of some 37 class members who, unable to stand the toll of

  detention, have given up and agreed to removal, despite the danger of persecution,

  torture, or even murder in Iraq. While that harm cannot be undone, Petitioners ask

  this Court to use its inherent authority to release the Zadvydas subclass members

  and rectify, to the extent possible, the consequences of Respondents’ misconduct.

  Petitioners also ask the Court to strike the misleading and false portions of

  Respondents’ declarations, to require Respondents to acknowledge error in other

  proceedings where those declarations were used, and to pay attorneys’ fees.

                           BACKGROUND AND FACTS

  I.    RESPONDENTS KNOWINGLY PRESENTED FALSE AND
        MISLEADING INFORMATION.
        In January this Court deferred ruling on the Zadvydas claim, concluding that

  it could not “make a determination regarding whether Iraq will accept repatriations

  of the class.” ECF 191, PgID5332. In ruling, the Court was forced to rely on the

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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18           PageID.9186    Page 17 of 42



  government’s one-sided rendition of the facts, because the government had

  vigorously opposed any discovery. Discovery has now shown that a) the govern-

  ment’s sworn facts were misleading and false, b) the government knew they were

  false, and c) the government withheld material, critical information.

        A.     Respondents’ Declarations Stated There Was an Agreement
               Under Which Iraq Would Accept Unlimited Repatriations Via
               Charter Flights.
        The government’s first declaration related to the purported US-Iraq “agree-

  ment” was from John Schultz, ICE Deputy Assistant Director with primary resp-

  onsibility for obtaining Iraqi cooperation with repatriations, dated July 20, 2017.

  ECF 81-4. The declaration stated “Iraq has agreed, using charter flights, to the

  timely return of its nationals that are subject to final orders of removal.” Id. ¶5.

        In their response to Petitioners’ preliminary injunction motion on detention,

  ECF 158, Respondents relied on another declaration, dated November 30, 2017,

  from Mr. Schultz, ECF 158-2, which was based on his purported “professional

  knowledge,” as well as “information obtained from other individuals employed by

  ICE, and information obtained from DHS records.” 1 Id. ¶3.2 He testified:


        1
           The declaration was central to Respondents’ argument. See Response, ECF
  158, PgID4103-04 (declaration “establishes that, but for the stay in place in this
  case, ICE would obtain travel documents for the detained Petitioners”); 12/20/2017
  Hrg. Trans., at 47, 115-16 (counsel stated that charter flights stopped by injunction
  and that ICE was in the process of obtaining travel documents for each person).
         2
           The Court has appropriately questioned why Respondents’ declarations are
  Continued on next page.
                                           3
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18           PageID.9187     Page 18 of 42




     • “Recent negotiations between the governments of the United States and Iraq
       have resulted in increased cooperation in removal of Iraqi nationals.” Id. ¶4.

     • “ICE originally had a charter flight scheduled in June 2017 that was resched-
       uled for July 2017 in view of the court’s original order; however, ICE was
       not able to effectuate that flight due to the Court’s July 24th order.” Id. ¶6.

     • “ICE expects to receive travel documents for all individuals that ICE has
       requested to remove to Iraq.” Id. ¶7.

     • “To minimize the risk of having to ask a foreign government to re-issue or
       extend an expired travel document, ICE waits until there are no impediments
       to request a travel document. Thus, ICE currently does not have travel
       documents for all detained final order detainees. ICE believes that the central
       government of Iraq in Baghdad will issue travel documents should the court
       lift the injunction.” Id. ¶8.

         After the Court asked about the terms of the purported Iraqi agreement

  during the detention motion hearing, 12/20/2017 Transcript, at 47-48, 122-23,

  Respondents submitted a declaration from Michael Bernacke, ECF 184-2, that:

     • vouched for earlier statements made by Mr. Schultz under oath (ECF 81-4)
       that there was an agreement with Iraq, though finally admitted that it was
       “not memorialized in any written document or treaty” (ECF 184-2, ¶4);

     • asserted that the Iraqi Agreement “does not contemplate any numeric
       limitation on the number of removals in total or on an annual basis” (id. ¶5);

     • asserted that Iraq had agreed to accept removals via charter flights and
       without the need for travel documents being issued by Iraq (id. ¶¶6-7);

     • claimed that ICE cancelled the June 2017 flight “[a]s a result of the
       injunction in the above-captioned case.” (id. ¶8); and

     • attested that “ICE believes that the central government of Iraq in Baghdad
       will permit the entry of detained Iraqi nationals . . . if the injunction is lifted”
  not based on personal knowledge, as required. ECF 191, PgID5332.

                                             4
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9188     Page 19 of 42



        using charter flights and the “injunction is the only impediment to ICE to
        resuming charter flights to Iraq.” (Id. ¶12).3

  The Court relied on Schultz’s and Bernacke’s declarations in deferring adjudica-

  tion of the Zadvydas claim, rather than ordering release, ECF 191, PgID5331-32:

        Schultz states that the Government’s negotiations have resulted in
        Iraq’s agreement to cooperate in removal of Iraqi nationals from the
        United States. [Schultz Decl.] ¶ 4. As evidence of this cooperation,
        Schultz notes that, prior to this Court’s rulings enjoining removal, ICE
        had scheduled charter flights to depart in both June and July. Id. ¶6.
                                      *     *       *
        In his declaration, Bernacke states that the agreement between the
        United States and Iraq is not memorialized in writing, but is instead
        the product of ongoing negotiations. [Bernacke Decl.] ¶ 4. Bernacke
        also states that “the agreement does not contemplate any numeric
        limitation on the number of removals,” and that if the injunction is
        lifted, large-scale removals can be arranged via charter flight, without
        the need for travel documents. Id. ¶¶5-6.

        B.     Respondents Knew The Declarations Were Untrue.
        Discovery has shown not only that Respondents’ account was inaccurate, but

  also that they knew the true story at the time. Respondents’ misrepresentations fall

  into four main categories: 1) statements that the U.S. reached an agreement with

  Iraq in 2017, and that Iraq was willing to accept the return of all Iraqi nationals

        3
           The declarations did not attest to personal knowledge and were carefully
  hedged to allow the declarants to disclaim responsibility. In some instances where
  a declarant had personal knowledge of adverse facts, a different declarant was used
  to tell a false story. For example, Mr. Schultz who testified at his deposition that he
  had abandoned efforts to use manifests for the June charter flight, ECF 376-64,
  Schultz Dep. at 47, 123, does not discuss that in his declaration. Mr. Bernacke’s
  declaration makes the exact opposite claim. ECF 184-2, Bernacke Dec. ¶6.


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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9189    Page 20 of 42



  with final orders of removal without limitation; 2) claims that ICE could secure

  travel documents for all Iraqi nationals but did not attempt to do so because of the

  preliminary injunction; 3) statements that Iraq will accept charter flights using

  manifests rather than requiring travel documents; and 4) statements that the June

  and July 2017 flights were cancelled as a result of this Court’s injunctions.

                 1.    Respondents said Iraq agreed to the return of all Iraqi
                       nationals with final orders of removal, knowing that was
                       untrue.
           The government has consistently and without qualification asserted that in

  2017 the U.S. and Iraq reached an agreement for the return of all Iraqi nationals

  with final orders of removal. While Iraq agreed to accept a charter flight with eight

  deportees in April 2017, in return for its removal from the first travel ban,




                  ECF 376-2, ¶10.



  Id. ¶20; ECF 376-62 ¶¶21-22, 30. Instead, Iraq



                                                                            ECF 376-2,

  ¶20.h.

                                          Id. ¶¶20-21, 23. By July 19,


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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9190    Page 21 of 42




  Id. ¶24. On July 20, Mr. Schultz

              . Id. ¶24.b. That same day, Respondents opposed an injunction barring

  removal of Iraqis (ECF 81), relying on Mr. Schultz’ sworn declaration that “Iraq

  has agreed… to the timely return of its nationals that are subject to final orders of

  removal.” ECF 81-4, ¶5.

        On July 26, 2017, Mr. Schultz’ Deputy Chief of Staff



                                               ECF 376-2, ¶24.d. ICE



                                           7
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9191   Page 22 of 42



                              Id. ¶24.f.



                                                               . Id. ¶¶25-28. Indeed,




                          4
                              Nonetheless, Respondents submitted declarations stating

  that Iraq will accept “all individuals that ICE has requested to remove to Iraq”,

  ECF 158-2, 11/30/2017 Schultz Decl. ¶7, “Iraq agreed to the timely return of its

  nationals subject to a final order of removal,” and “the United States planned to

  schedule the return of all Iraqi nationals with final orders of removal." ECF 184-2,

  12/22/2017 Bernacke Decl. ¶¶4-5 (emphasis added).

                2.     Respondents said ICE could secure travel documents, but
                       has not attempted to do so because of the injunction,
                       knowing that was untrue.
        Respondents, having claimed that Iraq would accept deportees without limit-

        4
            See, e.g., ECF 376-2,




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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9192   Page 23 of 42



  ation, had to explain why ICE nonetheless did not have travel papers. They said:

        To minimize the risk of having to ask a foreign government to re-issue
        or extend an expired travel document, ICE waits until there are no
        impediments to request a travel document. Thus, ICE currently does
        not have travel document for all detained final order Iraqis.

  ECF 158-2, 11/30/2017 Schultz Decl. ¶8. ICE also said that requesting travel docu-

  ments prematurely “has the potential to jeopardize the present agreement and our

  ability to effect future removals to Iraq.” ECF 184-2, Bernacke Decl. ¶10. In fact,

  ICE



                                                               ECF 376-2, ¶20; ECF

  376-62, ¶21. Significantly,



                                                         despite ICE’s assertion that

  doing so would jeopardize the present agreement. Id. ¶33.

              3.     Respondents said Iraq agreed to accept charter flights
                     without formal travel documents, knowing that was untrue.
        Respondents also highlighted the ease of return pursuant to the supposed

  “agreement” between the United States and Iraq, claiming that:

        The government of Iraq agreed to accept these removals via charter
        mission. As a charter mission, rather than a removal conducted via
        commercial airline flight, formal travel documents are not required.
        Instead, ICE submits a proposed manifest for the charter flight to Iraqi
        officials for approval.


                                           9
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9193   Page 24 of 42



  ECF 184-2, Bernacke Decl. ¶6. In fact, as Mr. Schultz admitted in his deposition,

  the plan to use manifests “never came to fruition” and was not even used for the

  April flight. ECF 376-2, ¶17. Thereafter ICE abandoned any hope of using the

  simpler manifest procedure for later flights, ECF 376, Ex. 4 at 123:

        Q: At any time, did ICE try to effectuate the June 2017 flight by
           submitting a flight manifest versus obtaining travel documents?
        A: No. It was my intention to get travel documents for the individuals
           on the flight.

               4.    ICE said that the June and July 2017 flights were cancelled
                     as a result of this Court’s injunction, knowing that was
                     untrue.
        A memo drafted by Respondents




  ECF 376-3. The longer version tells the same story, showing problems with the

  June flight from the start. A June 12




  ECF 376-2, ¶20.k. ICE first learned on June 20

                                    on June 21. Id. ¶20.q-20.r. The next day, June 22,


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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18              PageID.9194   Page 25 of 42



  this Court entered the initial TRO. ECF 32. Because that TRO only covered

  Detroit-area deportees, and because there were plenty of non-Detroit-area deport-

  ees to fill a flight, on June 23



               ECF 376-2, ¶20.t.

                                                                       Id. On June 26




                                                       Id. ¶20.u. In short, by the time this

  Court entered a nationwide injunction on June 26, ECF 43, the June flight had

  failed because                               . Respondents, however, provided sworn

  testimony blaming this Court’s injunction for the failure. See ECF 158-2,

  11/30/2017 Schultz Dec. ¶6; ECF 184-2, Bernacke Dec. ¶8.

        ICE also represented that it rescheduled the June flight for July, and that the

  preliminary injunction thwarted the July flight. ECF 158-2, 11/30/2017 Schultz

  Dec. ¶6. ICE had requested a flight for

                    . ECF 376-2, ¶23.c.

                            Id. ¶23.d-20.e.

                                                                                         Id.

  ¶23.g. But                         on July 18, Iraqi officials

                                               11
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18           PageID.9195   Page 26 of 42



                             Id.              July 19




                                     Id. ¶24. As of July 24, when the injunction was

  entered, Iraq                                         Id. ¶24.c.

        C.        The Government Withheld Material Information.
        The above affirmative misrepresentations, and the fact that neither Respond-

  ents nor their counsel ever returned to the Court to correct them, are only part of

  the story. As in Korematsu, “[b]ecause the information was of the kind peculiarly

  within the government’s knowledge, the court was dependent upon the government

  to provide a full and accurate account.” 584 F. Supp. at 1420. This Court naturally

  believed that the government would act with candor. Indeed, when Petitioners

  sought discovery in advance of their initial Zadvydas motion, the Court denied that

  request, relying on the government’s promise that “it would [] disclos[e] in its

  response to Petitioners’ motion . . . information that may be of utility to Petitioners

  to meet the Government’s response.” ECF 153, PgID3936. See id. (suggesting

  government promised disclosures may obviate need for discovery).

        The government did not disclose the key material facts – facts then known

  only to the government – that showed there was no significant likelihood of

  removal in the reasonably foreseeable future. Those undisclosed facts included:


                                            12
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9196     Page 27 of 42




     • As a result of




                                                    ECF 376-2, ¶24.

     • Iraq has a longstanding policy against accepting involuntary repatriations of
       its nationals, a position it
                                      . Id. ¶¶36-37, 48-49, 53.

     • Iraq
                                                             and required potential
        deportees to execute a form attesting to their desire for repatriation (a form
        that has
                                 Id. ¶¶3-6, 20.h, 33, 38-41.
  II.   THE GOVERNMENT’S CONDUCT THROUGHOUT THIS
        LITIGATION HAS BEEN DESIGNED TO HIDE THE TRUTH.
        Respondents’ conduct during the past 14 months – which at first appeared to

  be garden variety obstruction and discovery abuse – can in hindsight be recognized

  for what it was: an effort to prevent Petitioners and this Court from learning the

  truth. Three themes emerge. First, the government’s misrepresentations have

  infected this entire case. Had Petitioners and the Court known the truth back in

  July 2017 – when ICE was simultaneously

  while opposing the first preliminary injunction with sworn testimony that there was

  a U.S.-Iraq agreement for return of all Iraqi nationals – the course of this litigation

  would have been utterly changed. Both the removal and detention issues would

                                            13
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9197    Page 28 of 42



  have been litigated very differently, with the absence of a repatriation agreement

  becoming a central issue in the summer of 2017, rather than the summer of 2018.

        Second, the government has only admitted to its misrepresentations when

  caught. It was not until after the Court questioned the government about the terms

  of the purported Iraqi agreement that Respondents admitted that there is no written

  agreement. 12/20/2017 Hrg. Trans., at 47-48, 122-23; ECF 184-2, Bernacke Decl.

  ¶4. It was not until Petitioners were forced to seek emergency relief when ICE

  coerced class members into signing Iraq’s repatriation form, ECF 307, that Resp-

  ondents admitted that a deportee’s expressed desire to return is an essential step in

  the issuance of Iraqi travel documents.5 ECF 311-3, Maddox Decl. ¶¶8, 11, 13, 14.

        Third, Respondents have routinely ignored both the Federal Rules and this

  Court’s orders to avoid discovery, to the point where the Court had to warn that

  “[f]ailure to comply with the Court’s order may be cause for the Court to direct

  that the facts necessary to support Petitioners’ Zadvydas claim are established, or

  prevent the Government from opposing the Zadvydas claim, or issue other approp-

  riate relief. See Fed. R. Civ. P. 37(b)(2)(A).” ECF 320, PgID7608. The latest


        5
           In response to an interrogatory asking for “each criterion an Iraqi National
  must meet before Iraq will accept an Iraqi National for repatriation”, ICE notably
  omitted that Iraq’s criteria include a desire to return. ECF 376-56, ICE’s Response
  to Interrogatory No. 2; ECF 376-57, ICE Supplemental Response to Interrogatory
  No. 2. Nor did ICE mention the form, although ICE
                                         ECF 376-2, ¶¶4-5, 33.

                                           14
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9198    Page 29 of 42



  violation – ignoring the August 20 document production deadline, ECF 366,

  PgID8323 – seems likely to be an effort to ensure that when Respondents oppose

  the Zadvydas motion with their version of the facts, Petitioners will not have any

  “critical contradictory evidence known to the government and knowingly

  concealed from the courts.” Korematsu, 584 F. Supp. at 1417.

  III.   RESPONDENTS’ MISCONDUCT HAS CAUSED PETITIONERS
         SEVERE HARM.
         Over 100 class members are still suffering in detention. Had the government

  been honest about Iraq’s refusal to accept involuntary repatriations, they should

  have been released during post-order-custody reviews. Had the government not

  created a false narrative of easy deportations impeded solely by this Court’s orders,

  they would have been released in January when this Court ruled on the Zadvydas

  claim. Instead, they remain incarcerated in terrible conditions, subjected to pro-

  longed lock-downs, given inadequate medical care, and separated from their fami-

  lies. See, e.g. Op. on Coercion, ECF 370 (describing mistreatment in Calhoun jail).

  Their suffering, set out in more detail in Petitioners’ renewed Zadvydas motion and

  supporting declarations, is directly attributable to the government’s misconduct.

         The government’s use of Mr. Bernacke’s and Mr. Schultz’s declarations in

  class members’ immigration bond hearings compounded the harm. ICE argued,

  based on the declarations, that removal was imminent, but for the Hamama stay,

  and that the detainees were therefore flight risks. ECF 376-70, Bajoka Decl., ¶¶3-7.

                                           15
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9199     Page 30 of 42



  For example, after ICE introduced the declarations at the bond hearing of Salman

  Saiyad, a 63-year-old man who had been complying with an order of supervision

  for 20 years, the immigration judge set a $100,000 cash bond, which Mr. Saiyad is

  unable to pay. Mr. Saiyad remains detained. ECF 376-75, Kaplovitz Dec. ¶¶5-8.

                                     ARGUMENT

  IV.   THIS COURT HAS INHERENT AUTHORITY TO SANCTION AND
        REMEDY THE GOVERNMENT’S LITIGATION MISCONDUCT.
        Courts are vested with power to “manage their own affairs so as to achieve

  the orderly and expeditious disposition of cases.” Chambers v. NASCO, Inc., 501

  U.S. 32, 43 (1991). Courts have inherent power to sanction “acts which degrade

  the judicial system,” id. at 32; where “fraud has been practiced upon [the court]”,

  id. at 44; where a litigant is “misleading and lying to the court,” id. at 42; or where

  a litigant engages in bad-faith conduct or conduct that is “tantamount to bad faith.”

  Metz v. Unizan Bank, 655 F.3d 485, 489 (6th Cir. 2011). See also Railway Express,

  Inc. v. Piper, 447 U.S. 752, 767 (1980); First Bank of Marietta v. Hartford Under-

  writers Ins. Co., 307 F.3d 501, 511-12 (6th Cir. 2002); Murray v. City of Colum-

  bus, 534 F. App’x 479, 484 (6th Cir. 2013). While courts should exercise their

  power with restraint and discretion, Chambers, 501 U.S. at 44, “[t]he exercise of

  inherent authority is particularly appropriate for impermissible conduct that

  adversely impacts the entire litigation.” Marietta, 307 F.3d at 516.

        In imposing sanctions the court determines whether there was bad faith con-

                                            16
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9200    Page 31 of 42



  duct, or conduct that is tantamount to bad faith.6 Id. at 517. “It goes without saying

  that lying to the court constitutes bad faith.” Graham v. Dallas Indep. Sch. Dist.,

  2006 WL 507944, at *4 (N.D. Tex. Jan. 10, 2006). “[N]o one needs to be warned

  not to lie to the judiciary.” Ayoubi v. Dart, 640 F. App’x 524, 529 (7th Cir. 2016).

  “[T]hose ‘who lie, evade and fail to tell the whole truth obviously enjoy an advant-

  age over honest litigants. The victimized opponent winds up ... consuming substan-

  tial resources to respond to and ‘undo’ the victimizer’s lies and distortions.’” Fors-

  berg v. Pefanis, 634 F. App’x 676, 680 (11th Cir. 2015) (emphasis in original).

        Misrepresentations constitute a fraud on the court. As this Court held in

  Plastech Holding Corp. v. WM Greentech Automotive Corp., 257 F. Supp. 3d 867,

  872 (E.D. Mich. 2017), where it dismissed a suit as a sanction for submitting

  fraudulent evidence, a party commits a fraud upon the court where it adopts tactics

        “…calculated to interfere with the judicial system’s ability to
        adjudicate a matter by improperly influencing the trier or unfairly
        hampering the presentation of the opposing party’s claim or defense.”
        Aoude v. Mobil Oil Corp., 892 F.2d 1115, 1118 (1st Cir. 1989) (citing
        cases); see also New York Credit & Fin. Mgmt. Grp. v. Parson Ctr.
        Pharmacy, Inc., 432 Fed. App’x. 25 (2d Cir. 2011) (same); Almeciga
        v. Ctr. for Investigative Reporting, Inc., 185 F. Supp. 3d 401, 427
        (S.D.N.Y. 2016) (“[T]he essence of fraud upon the Court is when a
        party lies to the court and his adversary intentionally, repeatedly, and
        about issues that are central to the truth-finding process.”).



        6
          While a party must receive “fair notice and an opportunity for a hearing on
  the record,” an evidentiary hearing is not required. Metz, 655 F.3d at 491.

                                           17
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9201     Page 32 of 42



        There are of course special ethics rules governing attorneys.7 Under Michi-

  gan Rule of Professional Conduct 4.1, “a lawyer shall not knowingly make a false

  statement of material fact or law to a third person.” Rule 3.3 imposes a duty of can-

  dor to the court and opposing counsel, bars attorneys from making false statements

  and requires them to correct any false statements previously made. An advocate

  “must not allow the tribunal to be misled by false statements of law or fact or evi-

  dence that the lawyer knows to be false.” Comment, Rule 3.3. “If a lawyer has off-

  ered material evidence and comes to know of its falsity, the lawyer shall take reas-

  onable remedial measures, including, if necessary, disclosure to the tribunal.” Rule

  3.3(a)(3). See Rule 3.3(e) (conflict between duties of candor and confidentiality).

        “There are circumstances where failure to make a disclosure is the equiva-

  lent of an affirmative misrepresentation.” Comment, Rule 3.3. In First Bank of

  Marietta, 307 F.3d at 525, the Sixth Circuit found bad faith where a plaintiff with-

  held a document knowing it undermined its cause of action. As this court has said:

         The handling of a lawsuit and its progress is not a game. There is an
         absolute duty of candor and fairness on the part of counsel to both the
         Court and opposing counsel. At the same time, counsel has a duty to
         zealously represent his client’s interests. That zealous representation
         of interest, however, does not justify a withholding of essential
         information . . .
  Virzi v. Grand Trunk Warehouse & Cold Storage Co., 571 F. Supp. 507, 512 (E.D.

  Mich. 1983). See also Williamson v. Recovery Ltd. P’ship, 826 F.3d 297, 304 (6th

        7
            This Court has adopted the Michigan Rules. E.D. Mich. L.R. 83.22(b).

                                           18
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9202    Page 33 of 42



  Cir. 2017) (misrepresentations not innocent where party “willfully blind” to

  evidence); In re Bavelis, 563 B.R. 672, 687 (S.D. Ohio 2017) (misrepresentations

  intentional where party knew of key evidence); Laukus v. Rio Brands, Inc., 292

  F.R.D. 485, 489 (N.D. Ohio 2013) (dismissing complaint because plaintiff

  “knowingly offered (or allowed to be offered) arguments before this Court and on

  appeal that were not supported by-and contrary to-the record” and “failed to

  correct discovery responses they knew to be inaccurate, misleading or false”).

  V.    THIS COURT HAS INHERENT AUTHORITY TO FASHION
        APPROPRIATE REMEDIES TAILORED TO THE HARM CAUSED
        BY THE GOVERNMENT’S MISCONDUCT.
        Once a court determines sanctions are warranted, it must decide what form

  of sanctions should be imposed. Marietta, 307 F.3d at 517. The Supreme Court has

  emphasized that a “primary aspect of [the court’s] discretion is the ability to fash-

  ion an appropriate sanction for conduct which abuses the judicial process.” Cham-

  bers, 501 U.S. at 44-45 (emphasis added). While “the less severe sanction of an

  assessment of attorney’s fees” is most common, the court has discretion to impose

  “a particularly severe sanction” where that is the appropriate remedy. Id. at 45.

  Severe sanctions include “outright dismissal of a lawsuit,” id.; vacating prior judg-

  ments, Demjanjuk v. Petrovsky, 310 F.3d 338 (6th Cir. 1993); setting aside a jury

  verdict, Fuery v. City of Chicago, --- F.3d ----, 2018 WL 3853742 (7th Cir. Aug.

  14, 2018); barring witness testimony, Beard v. City of Southfield, 2016 WL

  6518490 (E.D. Mich. Nov. 3, 2016); entering an injunction, Lamie v. Smith, 2013
                                           19
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9203     Page 34 of 42



  WL 12109526 (W.D. Mich. Feb. 14, 2013), report and rec adopted by 2013 WL

  12109421 (W.D. Mich. Mar. 6, 2013); or striking claims or defenses, Robert Bosch

  LLC v. A.B.S. Power Brake, Inc., 2011 WL 1790221 (E.D. Mich. May 10, 2011)8.

  VI.     BECAUSE RESPONDENTS SECURED DEFERRAL OF
          PETITIONERS’ ZADVYDAS CLAIM THROUGH MISCONDUCT,
          THE APPROPRIATE SANCTION IS PETITIONERS’ RELEASE.
          The government’s false assertion that the preliminary injunction was the

  only thing standing between the Petitioners and return to Iraq was critical for this

  Court’s ruling on the Zadvydas claim. Had the government honestly presented the

  facts, Petitioners would have met their burden to show a likelihood of success on

  the merits. Instead, the government dissembled. The supposed “agreement” to

  accept all Iraqis with final orders never existed. The June plane was cancelled be-

  cause                           yet the government swore that it was the result of

  this Court’s TRO. ICE never

                   , yet it again blamed the litigation. Although ICE

                                                      , it told this Court the opposite.

  And the government simply omitted key facts, including that 1) Iraq

                                   ; and 2) in July 2017


          8
         See also, e.g., Barnhill v. United States, 11 F.3d 1360, 1367 (7th Cir. 1993)
  (“Moreover, pursuant to this power, a court may impose the severe sanction of
  dismissal with prejudice (or its equivalent, judgment) if the circumstances so
  warrant.”); Monsanto Co. v. Ralph, 382 F.3d 1374, 1382 (Fed. Cir. 2004) (entering
  judgment); Oliver v. Gramley, 200 F.3d 465, 466 (7th Cir. 1999) (dismissal).

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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9204    Page 35 of 42




        No amount of wordsmithing – which one can expect in the government’s

  response – can hide the fact that Respondents have not been remotely candid with

  this Court. Any post hoc rationalization leaves unanswered the question of why the

  government’s original factual assertions—so unconditioned and unambiguous—

  are not supported by the contemporaneous record.

        The duty of candor—which every party and attorney owes to a court—

  applies with particular force to the government:

        The Department of Justice wields enormous power over people’s
        lives, much of it beyond effective judicial or political review. With
        power comes enormous responsibility, moral, if not legal, for its
        prudent and restrained exercise; and responsibility implies knowledge,
        experience, and sound judgment, not just good faith.

  United States v. Van Engel, 15 F.3d 623, 629 (7th Cir. 1993), abrogated on other

  grounds by United States v. Canoy, 38 F.3d 893 (7th Cir. 1994). And it is even

  more apt here, as the government prevented Petitioners from securing any discov-

  ery before the hearing on the Zadvydas claim by promising to provide the relevant

  information in its responsive pleadings. Whatever duty to disclose that was not

  imposed as a matter of law was assumed by the government based on that promise;

  a promise this Court expressly relied upon in denying discovery at that time.

        The real question for this Court is not whether there was misconduct – based

  on the record set out above there clearly was – but rather how the Court can here

                                          21
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18          PageID.9205     Page 36 of 42



  “fashion an appropriate sanction for conduct which abuses the judicial process.”

  Chambers, 501 U.S. at 44-45. While there is “no requirement that the district court

  find prejudice” when imposing sanctions, the Court should consider “the impact or

  effect that the [improper] conduct had on the course of the litigation” when

  fashioning an appropriate remedy.” Fuery, 2018 WL 3853742 at *10.

            There is no way for the Court to give the Petitioners what they were wrong-

  fully deprived of: release back in January. What the Court can do, however, is

  prevent that wrong from continuing any longer by ordering release, at long last.

  The government’s misconduct is both a supplemental reason to grant Petitioners’

  renewed Zadvydas motion, ECF 376, and an independent reason for the same

  relief.

            This Court’s earlier Zadvydas ruling was premised on false evidence. The

  Court has the inherent power to amend its earlier decision “upon proof that a fraud

  has been perpetrated upon the court.”9 Chambers, 501 U.S. at 44. That power “is

  necessary to the integrity of the courts, for ‘tampering with the administration of


            9
           In addressing misconduct, courts have expansive power to revise earlier
  decisions. For example, in Demjanjuk, 310 F.3d at 351-52, the Sixth Circuit
  vacated an earlier extradition order, concluding that acts and omissions by
  Department of Justice attorneys, particularly the failure to disclose evidence,
  constituted fraud on the court, and that the court had the inherent power to grant
  such relief to protect the integrity of the judicial process. Similarly, in Fuery, 2018
  WL 3853742 at *10, the Seventh Circuit held that the district court had authority to
  set aside a jury verdict for the plaintiff as a sanction for the plaintiff’s misconduct.

                                             22
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18           PageID.9206     Page 37 of 42



  justice in [this] manner ... involves far more than an injury to a single litigant. It is

  a wrong against the institutions set up to protect and safeguard the public.’” Id.

  VII. THE COURT SHOULD STRIKE FALSE AND MISLEADING
       LANGUAGE FROM THE DECLARATIONS AND REQUIRE
       RESPONDENTS TO INFORM OTHER TRIBUNALS WHERE THE
       DECLARATIONS WERE USED OF THAT FACT.
        The Court should strike the false and misleading language in the Schultz and

  Bernacke declarations (as set out in Exhibits A-C). The Court should also order

  Respondents to file a notice in any individual immigration and habeas proceedings,

  whether in immigration or federal court,10 in which the declarations have been

  offered as evidence, and provide proof of those filings. See Chambers, 501 U.S. at

  56-57 (court can sanction misconduct before other tribunals); Enmon v. Prospect

  Capital Corp., 675 F.3d 138, 148 (2d Cir. 2012) (court could require sanctioned

  lawyers to submit its sanction order with any future pro hac vice applications).

        The government is using the declarations in Petitioners’ underlying immi-

  gration cases as proof of ICE’s ability to remove them, which affects how bond is

  set and whether class members are released. See ECF 376-70, Bajoka Dec. ¶¶2-7,

  ECF 376-77; Kaplovitz Dec. ¶7 The government is also filing the declarations in

  individual habeas cases to argue, falsely, that removal is significantly likely in the




        10
           Federal court cases would include both habeas proceedings and petitions
  for review to the Court of Appeals in immigration cases.

                                             23
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9207    Page 38 of 42



  reasonably foreseeable future.11 The notice to the other tribunals should state that

  this Court has stricken portions of the declarations, and should provide each

  presiding judge with this Court’s opinion. This will allow class members to take

  appropriate steps to remedy any decisions that relied on those declarations, and

  alert both the immigration courts other federal courts that the government is

  presenting false evidence.

  VIII. PETITIONERS SHOULD BE AWARDED ATTORNEYS’ FEES AND
        COSTS.
        Attorneys’ fees are an appropriate sanction for bad faith conduct. Chambers,

  501 U.S. at 45-46; Metz, 655 F.3d at 489. The Court also has inherent authority to

  impose attorneys’ fees where a litigant’s “actions were taken, at the very least, in

  the face of an obvious risk that he was increasing the work on the other party with-

  out advancing the litigation.” Red Carpet Studios Div. of Source Advantage, Ltd. v.

  Sater, 465 F.3d 642, 647 (6th Cir. 2006). Attorney’s fees serve the dual purposes

  of “vindicat[ing] judicial authority” and “mak[ing] the prevailing party whole for

        11
            While Petitioners do not know every case where the declarations have
  been filed, they include Al Jabari v. U.S. Attorney General, 4:17-cv-01972 (N.D.
  Ala.); Al-Hallaf v. U.S. Attorney General, 4:17-cv-02068 (N.D. Ala.); Arthur v.
  Session, 1:17-cv-23343 (S.D. Fla.); Mirza v. Hassell, 4:17-cv-02039 (N.D. Ala.);
  Saiyad v. Adducci, 1:17-cv-00995 (W.D. Mich.); Yousif v. Adducci, 1:17-cv-01038
  (W.D. Mich.). In the Al-Jabari case, ICE submitted an additional declaration
  attesting to the likelihood of removal, even though Mr. Al-Jabari was
                                                      . Compare ECF 376-77, North
  Decl. ¶¶53-54, with ECF 376-20,


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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18         PageID.9208    Page 39 of 42



  expenses” caused by his opponent. Hutto v. Finney, 437 U.S. 678, 689 n.14 (1978).

        Here, Respondents’ misrepresentations, their failure to provide information

  known exclusively to the government and promised in lieu of discovery, and their

  delays, concealment, and obstruction when discovery finally commenced forced

  Petitioners to engage in protracted discovery. The government’s actions also

  necessitated both this motion and the renewed Zadvydas motion. None of this labor

  should have been necessary. All fees and expenses incurred as a result of the

  government’s misconduct should be awarded to Petitioners.

                                    CONCLUSION

        “[E]xtraordinary injustices require extraordinary relief.” Korematsu, 584 F.

  Supp. at 1413. More than 100 human beings remain behind bars as a direct result

  of the government’s misconduct. They should be released, the record cleansed of

  the government’s falsehoods, and Petitioners reimbursed for the many months of

  work it has taken to uncover the truth. Respondents may believe that they can

  violate this Court’s orders, disregard the Court Rules, and dissemble without

  consequence.12 The Court should make clear that they cannot.


        12
           ICE’s disregard of this Court’s order is not an isolated incident, but rather
  part of a pattern of misconduct. See, e.g., Grace v. Sessions, 2018 WL 3812445
  (D.D.C. Aug. 9, 2018) (ordering ICE to return deported asylum seeker and her
  daughter, who had been removed despite ICE’s representation to the court that no
  removal would occur before hearing, and warning of possible contempt sanctions
  against Attorney General Sessions, DHS Secretary Nielsen, and other Defendants).

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Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18       PageID.9209   Page 40 of 42



  Respectfully submitted,

  Michael J. Steinberg (P43085)            Judy Rabinovitz (NY Bar JR-1214)
  Bonsitu A. Kitaba (P78822)               Lee Gelernt (NY Bar LG-8511)
  Miriam J. Aukerman (P63165)              ACLU FOUNDATION
  ACLU FUND OF MICHIGAN                     IMMIGRANTS’ RIGHTS PROJECT
  2966 Woodward Avenue                     125 Broad Street, 18th Floor
  Detroit, Michigan 48201                  New York, NY 10004
  (313) 578-6814                           (212) 549-2618
  msteinberg@aclumich.org                  jrabinovitz@aclu.org

  /s/Kimberly L. Scott                     Margo Schlanger (P82345)
  Kimberly L. Scott (P69706)               Cooperating Attorneys, ACLU Fund
  Wendolyn W. Richards (P67776)            of Michigan
  Cooperating Attorneys, ACLU Fund         625 South State Street
   of Michigan                             Ann Arbor, Michigan 48109
  MILLER, CANFIELD, PADDOCK                734-615-2618
   & STONE, PLC                            margo.schlanger@gmail.com
  101 N. Main St., 7th Floor
  Ann Arbor, MI 48104                      Susan E. Reed (P66950)
  (734) 668-7696                           MICHIGAN IMMIGRANT RIGHTS
  scott@millercanfield.com                 CENTER
                                           3030 S. 9th St. Suite 1B
  Nora Youkhana (P80067)                   Kalamazoo, MI 49009
  Nadine Yousif (P80421)                   (269) 492-7196, Ext. 535
  Cooperating Attorneys, ACLU Fund         Susanree@michiganimmigrant.org
   of Michigan
  CODE LEGAL AID INC.                      Lara Finkbeiner (NY Bar 5197165)
   27321 Hampden St.                       Mark Doss (NY Bar 5277462)
  Madison Heights, MI 48071                INTERNATIONAL REFUGEE
  (248) 894-6197                            ASSISTANCE PROJECT
  norayoukhana@gmail.com                   Urban Justice Center
                                           40 Rector St., 9th Floor
  María Martínez Sánchez (NM Bar           New York, NY 10006
  126375)                                  (646) 602-5600
  ACLU OF NEW MEXICO                       lfinkbeiner@refugeerights.org
  1410 Coal Ave. SW
  Albuquerque, NM 87102
  msanchez@aclu-nm.org
                       Attorneys for All Petitioners and Plaintiffs
                                         26
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18   PageID.9210   Page 41 of 42



  William W. Swor (P21215)
  WILLIAM W. SWOR
  & ASSOCIATES
  1120 Ford Building
  615 Griswold Street
  Detroit, MI 48226
  wwswor@sworlaw.com

  Attorney for Petitioner/Plaintiff Usama Hamama

  Dated: August 31, 2018




                                       27
Case 2:17-cv-11910-MAG-DRG ECF No. 381 filed 08/31/18        PageID.9211   Page 42 of 42



                            CERTIFICATE OF SERVICE

        I hereby certify that on August 31, 2018, I electronically filed the foregoing

  papers with the Clerk of the Court using the ECF system which will send

  notification of such filing to all ECF filers of record.



                                    By: /s/Kimberly L. Scott
                                    Kimberly L. Scott (P69706)
                                    Cooperating Attorneys, ACLU Fund of Michigan
                                    MILLER, CANFIELD, PADDOCK
                                      & STONE, PLC
                                    101 N. Main St., 7th Floor
                                    Ann Arbor, MI 48104
                                    (734) 668-7696
                                    scott@millercanfield.com
